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                                m THE UNITED STATES
                                FOR THE N O R T H E K *N,w m I C T C$,@yJq7




Clnited States o f America,                                  Casc No. 1 4 6 C'K 184

                   Plaintiff.                                Judge Solomon Oliver

        -v-                                                  Magistrate Judge David S, Perelman

Joel Ramirez                                                 REPORT AND RECOMMENDED
                                                             DECISION
                   Defendant.

        Pursuant to Cfeneral Order 99-49, this matter having been rcScrrcd to United States Magistrnte

Judge David Perelman for purposes of receiving, on consent of the parties, the defendant's offer o f a plea

of guilty, conducting the cvlloquy prescribed by Fed. R. Crim. P. 1 1, causing a verbatim record of the

proceedings to be prcparcd, referring the matter, if appropriate, for presentence investigation, and

submitting a Magistrate Judge's Keport and Recommendation stating whether the plea should be accepted

and a finding of guilty entered, the following, along with the transcript or other record of the proceedings

submitted herewith, constitutes the Magistrate Judge's Report and Recomrnendatiun concerning thc plca

of guilty proffered by the defendant.

              1.      On 8/1/06 the defendant. accompanied by coutlsel, proffered a plea of
                      guilty.

              2.      The defendant was examined as to hisiher competency to
                      participate in a plea proceeding and was found to be competent.

              3.      The defendant was advised as to the nature and elements of the
                      charge[s] contained in the indictment/information, the maximum
                      possible sentence consequent thereto.

              4.      He/Sht: was advised of the rights to: (a) tender a plea of not guilty
                      or stand upon such n plea previously entered: (b) lo trial, by jury or
                      by judge; (c) to representation by counsel, including appointed
                      counsel, at all stages of the proceedings; Id) at trial to confront and
                      cross-examine adverse w itncsscs, tu present witnesses and to
                      compel their presence, and to stand upon or waive the privilcgc
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                   against self-incrimination, and that i f a plea of guilty or nolo
                   conrcttdre was to be accepted each of those rights would be
                   waived.

             5.    Ttlat the government would have the right, in a prosecution f i r
                   perjury or a false statement, to use ally statement he/she gives
                   under oath.

             6.    That the tenns of any provision in a plea agreement waiving the
                   right to appeal ar collaterally attack hislher convictionfsl and
                   scnlence[s] thereon will be hind ing.

             7.    'IAe partics and counsel informed thc cuurt about any plea
                   agreement between the parties, the undersigned was advised that.
                   aside from such agreement as described or submitted to the court,
                   no other con~~nitmcntsor promises have been made by any party,
                   and no other agreements, written or unwritten, have been made
                   between the parties.

             8.    The undersigned questioned the dd'cndant under oath about thc
                   knowing, intelligent, and voluntary naturc or the plea of guilty, and
                   finds that thedefcndant's plea was offered Iulowingly, intelligently,
                   and voluntarily.

             9.    The parties provided the undersigned with sufficient information
                   about the charged offensc(s) and the defendant's conduct to
                   establish a factual basis tbr thc plea.

        In light o f the foregoing and the record submitted herewith, the undersigned finds that the

dcfcnclant's plea was knowing, intelligent, and voluntay. and that all rcquirernents imposed by the United

                 and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned recomnlends
States Cons~i~uiion

that the plea of guilty be accepted and a finding of guilty be entered by the Court




                                                                         -
                                                         DAVID S. PEKF.I,MAN
                                                         Linited States Magistrate Judge

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                                               OBJECTIONS


         Any objections to this Rcport and Reconlmended Dccision must be filed with the Clcrk ofcourts
within ten (10) days of receipt of this notice. Failure to file objccliuns within the specified tirne waives
the right to appeal the Ilistrict Clourt's order. See, U~zitedSlates v. Waiters, 638 F.2d 947 (6th Clir. 198 1).
Sce, also, Thon~asv. A m , 474 U.S. 140 ( 1 9851, reh g denied. 474 U.S. 1 1 1 1 (1 986).
